                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                         CEDAR RAPIDS DIVISION


 UNITED STATES OF AMERICA,
              Plaintiff,                                 No. CR08-60-LRR
 vs.                                                          ORDER
 ERIC DION OWENS,
              Defendant.

                                ____________________

       The matter before the court is the defendant’s motion to reconsider (docket
no. 105). The clerk’s office filed such motion on March 9, 2012. On February 10, 2012,
the court determined that the defendant was not eligible for relief under 18 U.S.C.
§ 3582(c)(2) because the defendant is subject to a statutorily required minimum sentence.
See Order (docket no. 103). At the time the defendant committed the offense, 21 U.S.C.
§ 841(b)(1)(A) provided that a twenty-year mandatory minimum sentence applied if the
offense involved 50 grams or more of crack and the defendant had a prior conviction for
a felony drug offense.1 The defendant states nothing in the instant motion that leads the
court to a different conclusion regarding his eligibility for a sentence reduction.
Accordingly, the defendant’s motion is denied.
       IT IS SO ORDERED.




       1
         The court notes that, pursuant to the Fair Sentencing Act (“FSA”), 21 U.S.C.
§ 841(b)(1)(A) has since been amended and, effective August 3, 2010, the twenty-year
mandatory minimum sentence is not implicated unless the offense involves 280 grams or
more of crack. The Eighth Circuit Court of Appeals, however, has held that the FSA is
not retroactive. See United States v. Sidney, 648 F.3d 904, 910 (8th Cir. 2011).


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  DATED this 12th day of March, 2012.




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